          Case 2:24-cv-04806-JMA-ST Document 8 Filed 07/11/24 Page 1 of 4 PageID #: 34

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Eastern District of New York

                      Skatteforvaltningen                              )
                                                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                          Civil Action No. 2:24-cv-04806-JMA-ST
                                                                       )
              Luke McGee and 99 Cross LLC                              )
                                                                       )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Luke McGee
                                           470 S. Ocean Boulevard
                                           Palm Beach, Florida 33480




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Marc A. Weinstein
                                       Neil J. Oxford
                                       Dustin P. Smith
                                       One Battery Park Plaza
                                       New York, New York 10004-1482



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               #3&//" # .")0/&:
                                                                              CLERK OF COURT


Date:    07/11/2024
                                                                                        Signature of Clerk or Deputy Clerk
           Case 2:24-cv-04806-JMA-ST Document 8 Filed 07/11/24 Page 2 of 4 PageID #: 35

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:24-cv-04806-JMA-ST

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):




           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
          Case 2:24-cv-04806-JMA-ST Document 8 Filed 07/11/24 Page 3 of 4 PageID #: 36

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                   Eastern District of New York

                      Skatteforvaltningen                         )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 2:24-cv-04806-JMA-ST
                                                                  )
              Luke McGee and 99 Cross LLC                         )
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) 99 Cross LLC
                                       Corporate Creations Network Inc.
                                       1521 Concord Pike, Suite 201
                                       Wilmington, Delaware 19803




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Marc A. Weinstein
                                       Neil J. Oxford
                                       Dustin P. Smith
                                       One Battery Park Plaza
                                       New York, New York 10004-1482



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                             #3&//" # .")0/&:
                                                                            CLERK OF COURT


Date:    07/11/2024
                                                                                      Signature of Clerk or Deputy Clerk
           Case 2:24-cv-04806-JMA-ST Document 8 Filed 07/11/24 Page 4 of 4 PageID #: 37

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:24-cv-04806-JMA-ST

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                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

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                                                                                on (date)                             ; or

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                                                                 , a person of suitable age and discretion who resides there,
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           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
